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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

GAINESVILLE DIVISION
CHERYL FARR, on behalf of herself)
and others similarly situated, )
)
Plaintiff, }
) Civil Action No. 1:15-cv-00142-MW-GRJ
¥. }
)
DOLGENCORP, LLC, )
)
Defendant, )
IN THE AMERICAN ARBITRATION ASSOCIATION
CHERYL FARR,
Claimant,
v. AAA No. 01-15-0005-4799

DOLGENCORP, LLC,

Smee” Neue! Seger Nome et” Se Sane! Sener” So”

Respondent.
SETTLEMENT AGREEMENT AND RELEASE OF WAGE AND HOUR CLAIMS

This Settlement Agreement and Release of Wage and Hour Claims (the “Agreement”) is
entered into by and between Plaintiff Cheryl Farr (“Plaintiff”) and Dolgencorp, LLC (referred to
herein as “Defendant” or “Dollar General”). Plaintiff and Defendant are collectively referred to
herein as the “Parties.”

WHEREAS, Plaintiff was previously employed by Dollar General,

WHEREAS, disputes have arisen between Plaintiff and Defendant relating to the
Plaintiff's employment and separation therefrom, including those claims raised in actions against
Defendant now in the United States District Court for the Northern District of Florida,
- Gainesville Division, in a case styled, Cheryl Farr, on behalf of herself and others similarly

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situated v. Dolgencorp, LLC, Civil Action No. 1;15-cv-00142-MW-GR] (the “Litigation”), and
Cheryl Farr v. Dolgencorp, LLC, in the American Arbitration Association, AAA No, 01-15-
0005-4799 (the “Arbitration”) alleging violations of the Fair Labor Standards Act (FLSA) ~
including but not limited to allegations that Plaintiff worked off the clock, and as such, was not
paid minimum wages and/or overtime wages she alleges to have been entitled to receive;

WHEREAS, Plaintiff and Defendant desire to compromise, settle, and forever resolve.
and dispose of outstanding wage and hour controversies and claims including but not limited to
those raised in the Litigation and Arbitration;

WHEREAS, all words used in this Agreement will have their plain meaning in ordinary
English; and

| NOW, THEREFORE, in consideration of the foregoing and promises and other
consideration contained hereinafter, the Parties agree as follows;
L

Dollar General agrees to pay to Plaintiff the a gross settlement amount of Seven
Thousand and no/100 Dollars ($7,000) as follows: Three Thousand, Five Hundred and 10/100
Dollars ($3,500.00) as alleged back pay damages related to the claims asserted in this
litigation/arbitration (applicable withholdings will be taken thereftom); and Three Thousand Five
Hundred and no/100 Dollars ($3,500.00) for liquidated damages. ‘The receipt and sufficiency of
the payment of the gross settlement amount is hereby acknowledged, as a full and complete
settlement of any and all of Plaintiff's claims encompassed or referred to in this Agreement or

the Litigation and/or Arbitration.

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Moreover, Plaintiff acknowledges that Plaintiffs attorneys, will be separately paid an
amount of Seven Thousand and no/100 Dollars ($7,000) for attorneys’ fees and expenses related
to Plaintiff's wage and hour claims, and in accordance with Plaintiff's agreements with
Plaintiffs Attorneys, as compensation for their representation of Plaintiff in this Litigation and
Arbitration, the payment of which Plaintiff acknowledges as additional consideration for the
settlement of Plaintiff's claims in this Litigation and Arbitration.

il.

In exchange for the consideration set forth above in Paragraph I, and other good and
sufficient consideration set forth herein, Plaintiff, for and on behalf of Plaintiff individually and
Plaintiffs heirs, executors, trustees, administrators, representatives, spouses, and assigns, if any,
hereby fully, finally, completely, and forever releases, discharges, acquits, and relinquishes
Defendant and its predecessors, successors, parent entities, subsidiaries, sister entities, partners,
related or affiliated companies, attorneys, officers, directors, employees, former employees,
agents and assigns (collectively the “Released Parties”), jointly and/or severally, from any and
all wage and hour claims, actions, demands, liabilities, and/or causes of action of whatever kind
or character, joint or several, whether now known or unknown, asserted or unasserted, under any
federal, state, or local wage and hour statute, law, regulation, or ordinance and common law,
including, but not limited to, the Fair Labor Standards Act (“FLSA”), or any other wage and

hour claim, regardless of the forum in which it might be brought, if any, arising from or in any

 

| “Plaintiff's Attorneys” are defined to include the Law Office of Matthew Birk and any other attorneys related to
this Litigation and/or Arbitration and/or the claims released by this Settlement Agreement and Release of Claims,
along with all of their agents, representatives, and employees, including all individual attorneys and firms of record
that have made appearances in the course of this Litigation and/or Arbitration on behalf of Plaintiff, who represented
Plaintiff in this Litigation and/or Arbitration, and/or anyone else suing Defendant on behalf of Plaintiff in connection
with the prosecution of claims for unpaid wages or other damages against Defendant, and/or any attorney who is
related, pursuant to any current or former joint representation agreement or other arrangement with Plaintiffs
attorneys of record, the claims released by this Settlement Agreement and Release of Claims. The Law Office of
Matthew Birk hereby represents that it has authority to acknowledge the sufficiency of the settlement proceeds for
all of Plaintiff's Attorneys.

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way connected with Plaintiff's employment with Dollar General and the termination thereof,
including all claims that were or could have been brought in the Litigation and/or Arbitration,
which Plaintiff has, might have, or might claim to have against the Released Parties, or any of
them individually, for any and all injuries, harm, damages, penalties, costs, losses, expenses,
attorneys’ fees, and/or liability or other detriment, if any, whenever incurred, suffered, or
claimed by Plaintiff in the Litigation and/or Arbitration or otherwise as a result of any and all
acts, omissions, or events by the Released Parties, collectively or individually, through the date
of this Agreement (collectively, the “Released Wage and Hour Claims”). Moreover, Plaintiff
represents and acknowledges that in the future, Plaintiff will not file, instigate, or encourage the
filing of any lawsuits by any party in any state or federal court, asserting any of the Released
Wage and Hour Claims, Further, this Agreement includes a covenant by Plaintiff that Plaintiff
will not bring another wage and hour class or collective action as a result of Plaintiffs
employment with Dollar General, Moreover, Plaintiff represents that if any ageney or court
assumes jurisdiction of any wage and hour complaint, charge or lawsuit against any of the
Released Parties, or certifies a class seeking relief on Plaintiff's behalf for any wage and hour
claims released by this Agreement, Plaintiff will request such agency or court to withdraw from
the matter, and Plaintiff wil! not opt into any class or collective action she is invited to join (or,
inversely, Plaintiff will specifically opt out of any class or collective action to which Plaintiff is
joined) and, in any case, Plaintiff agrees not to take any personal legal or equitable relief from
any such wage and hour complaint, charge or lawsuit.

UI.

Plaintiff agrees to dismiss with prejudice all wage and hour claims or charges of any

kind whatsoever under any federal or state statute or common law, which Plaintiff has filed

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against any and all of the Released Parties with any state or federal court, agency, or department,
_including but not limited to, the Litigation and Arbitration. Plaintiff hereby authorizes Plaintiff's
Attorneys to execute on Plaintiff's behalf any and all stipulations, motions or other documents to
effectuate same. Plaintiff hereby covenants and promises that, except as may be provided herein,
Plaintiff will not file any additional wage and hour claims or lawsuits against the Released
Parties, or any of them, for any alleged acts, omissions, and/or events, whether now known or
unknown, which have or may have occurred prior to the date of execution of this Agreement by
Plaintiff.

Plaintiff further agrees that any and all sums paid of provided to Plaintiff in consideration
for this Agreement will be forfeited and become immediately due and payable to Dollar General
in the event Plaintiff asserts any wage and hour claim, demand, or cause of action, including
any cause of action for indemnity and contribution or third-party action, arising out of, resulting
from, or in any way related to any of the claims encompassed within this Agreement, or any
action to set aside, invalidate, or void this Agreement, except as 4 result of Dollar General’s
alleged breach of this Agreement. Plaintiff further agrees that a breach of the covenant set forth
in this paragraph will entitle Dollar General and/or Released Parties to a full recovery in an
action for damages, including, but not limited to, recovery of its ot their costs, expenses, and
attorneys’ fees for investigation, prosecution or defense of any action brought in breach of this
covenant as allowed by law. Such recovery of monies shall not otherwise affect the
enforceability of this Agreement or of other individual promises contained in this Agreement.

Nothing in this Agreement shall limit Plaintiff's right to communicate with any
investigative agency (including, but not limited to, asserting a complaint therewith), or

participate in an investigation or proceeding conducted by any investigative agency. This

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Agreement does, however, waive and release any right by Plaintiff to recover damages under any
wage and hour statutes with respect to any claim released hereby or arising out of Plaintiff's

employment with Dollar General.

IV.

Plaintiff has been represented by The Law Office of Matthew Birk. The Law Office of .
Matthew Birk acknowledges that it has authority to negotiate on behalf of and bind all of
Plaintiff's Attorneys (as defined herein in footnote 1, supra) related to this Litigation and/or
Arbitration and the claims released by this Agreement. By signature to this Agreement, The Law
Office of Matthew Birk acknowledges that all claims for attorneys’ fees, costs, or other
recoverable expenses that it and Plaintiffs Attorneys (including, but not limited to attorney
Matthew Birk) may hold independently against the Released Parties, or any of them related to
Plaintiff's wage and hour claims, are satisfied by the consideration paid, and The Law Office of
Matthew Birk on its behalf and the behalf of Plaintiff's Attorneys, hereby releases any claims
they have or might have against the Released Parties, or any of them, for all such monies.

Plaintiff and Plaintiff's Attorneys also acknowledge that no other attorney or firm not
associated with or in joint-representation with Plaintiff's Attorneys has represented Plaintiff in
connection with the Litigation and/or Arbitration, Plaintiff hereby represents and warrants that
Plaintiff has full authority to release all wage and hour claims against Released Parties,
including those claims associated with the Litigation and/or Arbitration and Plaintiff's claims
therein, and that Plaintiff has not assigned or otherwise transferred to any other person or entity
(other than Plaintiff's agreement with Plaintiff's Attorneys whose claims, if any, are fully and
finally satisfied by this Agreement) any interest in any wage and hour claim, demand, recovery,

settlement proceeds, action and/or cause of action Plaintiff has, may have, or may claim to have

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against any Released Party related to her wage and hour claims. Plaintiff agrees to indemnify
and hold harmless the Released Parties from any and all injuries, harm, damages, costs, losses,
expenses, and/or liability, including reasonable attorneys’ fees and court costs, incurred as a
result of any claims or demands which may hereafter be asserted against any Released Party by,
through, or by virtue of an assignment or other transfer by Plaintiff and/or assignment to any of
Plaintiff's Attorneys of afy interest in or related to Plaintiff's wage and hour claims.

Further, Plaintiffs Attorneys represent and warrant that they have full authority to release
all claims for attorneys? fees, costs and expenses incurred by Plaintiff and Plaintiff's Attorneys
as associated with Plaintiff 5 wage and hour claims, the Litigation and Arbitration, and related to
Plaintiff's claims therein, and that they have full authority to negotiate a settlement of attorneys’
fees, costs, or expenses on behalf of Plaintiffs Attorneys, and that there is no interest in
attorneys’ fees, costs, or expenses on behalf of Plaintiff related to Plaintiff's wage and hour
claims, this Litigation and Arbitration that they do not represent. Further Plaintiff's Attorneys
represent and warrant that they have not assigned or otherwise transferred to any other person or
entity any interest in any claim, demand, recovery, settlement proceeds, action and/or cause of
action they have, may have, or may claim to have against any Released Party related to
Plaintiff's wage and hour claims that are not settled by this Agreement. The Law Office of
Matthew Birk agrees to indemnify and hold harmless the Released Parties from any and all
injuries, harm, damages, costs, losses, expenses, and/or liability, including reasonable attorneys’
fees, court costs, and expenses incurred as a result of any claims or demands which may
hereafter be asserted against any Released Party by, through, or by virtue of a right to ownership,
an assignment or other transfer by Plaintiff's Attorneys of the attorneys’ fees, costs, and

expenses that may be recovered based upon Plaintiff's claims in this Litigation and Arbitration.

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V.

Plaintiff admits and represents that she has been paid for all wages owed Plaintiff based
upon Plaintiff's employment with Defendant, and that no additional wages are owed related to
Plaintiff's employment with Defendant that are not satisfied by the consideration paid pursuant
to this Agreement,

Vi.

This Agreement, the offer of this Agreement, and compliance with this Agreement shall
not constitute or be construed as an admission by the Defendant or Released Parties, or any of
them individually, of any wrongdoing or tiability of any kind or an admission of any violation of
the rights of Plaintiff, but rather, such liability or wrongdoing is expressly denied. This
Agreement shall not be admissible in any judicial, administrative or other proceeding or cause of
action as an admission of liability or for any purpose other than to enforce the terms of this
Agreement,

Vil.

The Parties agree that the sums paid pursuant to this Agreement and specifically
referenced in Paragraph I. herein are in settlement of Plaintiff's wage and hour claims. Plaintiff
acknowledges and agrees that Dollar General has not made any representations to Plaintiff
regarding the tax consequences of any amounts received by Plaintiff pursuant to this Agreement.
Plaintiff agrees that Plaintiff shall be solely responsible for payment of all of Plaintiffs personal
tax Habilities due on the settlement amount, including federal, state and local taxes, interest and
penalties, which are or may become due, Plaintiff agrees to indemnify, defend, and hold
harmless the Released Parties from any claims, demands, deficiencies, assessments, executions,

judgments, or recoveries by any governmental entity against any of the Released Parties for any

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amounts claimed due with respect to the payment referenced above in Paragraph I. or pursuant to
claims made under any federal or state tax laws, and any costs, expenses or damages sustained
by the Released Parties, or any of them, as a result of the payments referenced above in
Paragraph L., including attorney’s fees, in the event the Released Parties, or any of them
individually, are required to file suit or take other legal action to enforce this paragraph.

VII.

The Partics agree that the terms of this Agreement are contractual in nature and not
merely recitals and shall be governed and construed in accordance with the laws of the State of
Florida, without regard to conflicts of law, The Parties further agree that should any part of this
Agreement be declared or determined by a court of competent jurisdiction to be illegal, invalid,
or unenforceable, the Parties intend the legality, validity, and enforceability of the remaining
parts shal! not be affected thereby, and said illegal, invalid or unenforceable part shall be deemed
not to be a part of this Agreement.

Tx.
This Agreement shall be binding upon and the benefits shall inure to Plaintiff and
Plaintiff's heirs and to the Released Parties, and their successors and assigns.
X,
Each party hereto represents and warrants that they have full authority to bind the party

represented,
XI,

No waiver of any of the terms of this Agreement shall be valid unless in writing and
signed the party to this Agreement against whom such waiver is sought to be enforced, The

waiver by any party hereto of any provision of this Agreement shall not operate or be construed

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as a waiver of any subsequent breach by any party, nor shall any waiver operate or be construed’

as a rescission of this Agreement.
XI.

Plaintiff agrees that in executing this Agreement Plaintiff does not rély and has not relied
on any document, representation, or statement, whether written or oral, other than those
specifically set forth in this written Agreement. The Parties, including Plaintiff and Plaintiff's
Attorneys, agree that this Agreement constitutes the entire agreement between Plaintiff and the
Released Parties, and supersedes any and all prior agreements or understandings, written or oral,
pertaining to the subject matter of this Agreement. No oral understandings, statements,
promises, or inducements contrary to the terms of this Agreement exist. This Agreement cannot
be changed or terminated orally, but may be changed only through written addendum executed
by the Parties.

XII.

The terms of the Agreed Protective Order in place during the course of this Litigation
and/or Arbitration will remain in effect, and Plaintiff and Plaintiffs Attorneys agree to comply
with, and not violate, the same in the future.

XIV.

This Agreement is the product of arm’s length negotiations between the Parties and their
counsel, and no party shall be deemed to be the drafter of any provision or the entire Agreement.
The wording in this Agreement was reviewed and accepted by all Parties after reasonable time to
review with legal counsel, and no Party shall be entitled to have any wording of this Agreement
construed against the other Party as the drafter of the Agreement in the event of any dispute in

connection with this Agreement,

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XY,
The Parties declare that rhe ler sms of this Agreement have been completely read, are lully
understood, and are voluntarily - aecepted, after complete consideration of alf facts and their iegal
rohts, af whieh thoy have been fully advised by their respective ailomeys.

IN WITNESS WHEREOP, the Parties have exeeuled this Agreement as Follows:

\ Gy Ac. Coke

Chery! Farr

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APPROVED AS TO FORM AND SUBSTANCE, INCLUDING BUT SOS LL IMITED TO ANT
SPECIFICALLY AGREED TO, FOOTNOTE | AND AS TO PARAGRAPHS: IV, X,, and
MUL.

Matthew Birk
Atiomeys lor Plaintlf Chery Farr

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Wh Atl

Melanie E. Cook
Dolgencorp, LLC |

Date: 6 “| "| Y

APPROVED AS TO FORM AND SUBSTANCE

Melissa M. Hensley
Attorneys for Defendant Dolgencorp, LL

Date: , #. BSI

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